           Case 2:05-cr-00254-MCE Document 78 Filed 07/11/06 Page 1 of 1


1
2
3
4
5
6
7
8                        UNITED STATES DISTRICT COURT
9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         No. 2:05-cr-00254-MCE
12             Plaintiff,
13        v.                           ORDER
14   TALAT KABIL,
15             Defendant.
     ___________________________/
16
17        The Court finds that the time for the filing of an appeal
18   should be extended for a period not to exceed thirty (30)
19   calendar days from the expiration of the time for filing a notice
20   of appeal.   Good cause exists for this extension of time in light
21   of the fact Appellant's trial counsel recently passed away
22   unexpectedly after surgery.     New counsel for Appellant has been
23   appointed and will need time to become acquainted with the case.
24        IT IS SO ORDERED.
25   DATED: July 11, 2006
26                                  _____________________________
                                    MORRISON C. ENGLAND, JR.
27                                  UNITED STATES DISTRICT JUDGE
28
